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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH

  BRIDGER LEE JENSEN, an individual;
  SINGULARISM, a non-profit corporation;
  PSYCHE HEALING AND BRIDGING,                            FIRST AMENDED VERIFIED
  LLC dba PSYCHEDELIC THERAPY                                    COMPLAINT
  JOURNEY; a limited liability company;
                                                            Civil No. 2:24-cv-00887-JNP
                 Plaintiffs,
  vs.                                                           Judge Jill N. Parrish

  UTAH COUNTY, a political subdivision,                (Removed from Fourth Judicial District
  PROVO CITY, a political subdivision;               Court, Utah County, State of Utah, Case No.
  JEFFREY GRAY, an individual;                                      240406123)


                 Defendants.


        Plaintiffs Bridger Lee Jensen, Singularism, and Psyche Healing and Bridging LLC dba

 Psychedelic Therapy Journey (collectively, “Singularism”), by and through their counsel, hereby

 complain against Defendants Utah County, Provo City, and Jeffrey Gray, as alleged below.

                                       INTRODUCTION

        “Respect for religious expressions is indispensable to life in a free and diverse

 Republic . . .” Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 543 (2022). Indeed, “preserving the


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 promise of the free exercise of religion enshrined in our Constitution . . . lies at the heart of our

 pluralistic society.” Bostock v. Clayton Cnty., Georgia, 140 S. Ct. 1731, 1754 (2020). “[R]eligious

 beliefs need not be acceptable, logical, consistent, or comprehensible to others in order to merit

 First Amendment protection.” Fulton v. City of Philadelphia, Pennsylvania, 593 U.S. 522, 532,

 (2021) (quoting Thomas v. Review Bd. of Ind. Employment Security Div., 450 U.S. 707, 714

 (1981)). “A way of life that is odd or even erratic but interferes with no rights or interests of others

 is not to be condemned because it is different.” Wisconsin v. Yoder, 406 U.S. 205, 224 (1972).

         Bridger Jensen is the sincere founder of a small, entheogenic minority religion known as

 Singularism. Like many religious organizations, it has both non-profit and for-profit entities. As

 part of their sincere religious exercise, Plaintiffs utilize sacramental psilocybin tea to access the

 divine, open spiritual pathways, and alleviate human suffering by weaving together centuries of

 entheogenic religious practice with what Plaintiffs view as illuminated approaches of modern

 mental health clinicians.

         The sincerity of Plaintiffs’ religious conviction is unquestionable. Mr. Jensen gave up a

 successful career to pursue his higher spiritual calling in Singularism. Since its founding, he, on

 behalf of Singularism, has publicly and transparently broadcast the faith, indicating Singularism

 relies upon the protections for free exercise of religion to operate, while knowing that

 misunderstanding authorities may at any moment prosecute Singularism for its faith. After over a

 year of Plaintiffs peacefully exercising their religious freedom, providing spiritual care to many

 without incident and without a single ounce of psilocybin leaving Singularism’s spiritual center,

 that moment has come.




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         Law enforcement authorities, to whom Mr. Jensen sent a letter explaining Singularism’s

 religious practices at the opening of its religious center in the fall of 2023, searched Singularism’s

 spiritual center on November 11, 2024, and, among other things, seized the sacramental psilocybin

 used in Singularism’s ceremonies. The next day, law enforcement threatened Singularism’s

 landlord to evict Singularism from its spiritual center. Mr. Jensen now faces criminal charges

 related to psilocybin, and Singularism, a small minority religious group, risks being evicted and

 otherwise wiped off the map by overzealous authorities. Defendants have knowingly and

 recklessly proceeded in defiance of the protections afforded to sincere religious believers under

 the U.S. Constitution, the Utah Constitution, and the Utah Religious Freedom Restoration Act.

         The Court should right these wrongs. Plaintiffs request the Court enjoin Defendants from

 their actions burdening Plaintiffs’ sincere religious free exercise, declare Defendants’ actions a

 violation, order the payment of damages for the violation of Plaintiffs’ constitutional and statutory

 rights, and compensate Plaintiffs for the attorney fees and costs required to defend their rights in

 court, despite clear legal protections for their religious exercise.

                                               PARTIES

         1.      Plaintiff Bridger Lee Jensen is an individual who resides in Provo, Utah.

         2.      Plaintiff Singularism is a non-profit organization registered under the laws of the

 State of Utah located in Provo, Utah.

         3.      Plaintiff Psyche Healing and Bridging LLC dba Psychedelic Therapy Journey is a

 limited liability corporation registered under the laws of the State of Utah located in Provo, Utah.

         4.      Defendant Utah County is a political subdivision of the State of Utah. The Utah

 County Attorney’s Office is an agency, program, or arm of Utah County.


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        5.      Jeffrey Gray is, and has been, the Utah County Attorney since January 2023. Upon

 information and belief, Jeffrey Gray is a resident of Utah County.

        6.      Defendant Provo City is a political subdivision of the State of Utah located in Utah

 County. The Provo City Police Department is an agency, program, or arm of Provo City. The

 Provo City Attorney’s Office is an agency, program, or arm of Utah County. At all times relevant

 to this Complaint, the following persons were employed by and acting within the course and scope

 of their employment with Provo City Police Department:

             a. Troy Beebe is, and was, at all times relevant to this Complaint, the Chief of the

                Provo City Police Department.

             b. Brian Wolken is, and was, at all times relevant to this Complaint, a Captain of the

                Provo City Police Department.

             c. Jackson Julian is, and was, at all times relevant to this Complaint, a Detective of

                the Provo City Police Department.

             d. Austin Rowberry is, and was, at all times relevant to this Complaint, a Sergeant of

                the Provo City Police Department.

             e. Liuaki Wolfgramm is, and was, at all times relevant to this Complaint, a Detective

                of the Provo City Police Department.

             f. Cody Graham is, and was, at all times relevant to this Complaint, a Detective of the

                Provo City Police Department.

        7.      At all times relevant to this Complaint, Defendants Provo City, Utah County, and

 Jeffrey Gray were acting under color of state law, as were the law enforcement officers acting




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 under their direction, Chief Beebe, Captain Wolken, Detective Julian, Sergeant Rowberry,

 Detective Wolfgramm, and Detective Graham.

                                JURISDICTION AND VENUE

        8.     This action was originally filed in the Court for the Fourth Judicial District, Utah

 County, State of Utah, on November 19, 2024.

        9.     As originally filed, that Court had jurisdiction pursuant to Utah Code § 78A-5-102.

        10.    As originally filed, venue was proper in that Court under Utah Code §§ 63G-7-502

 and 78B-3a-201, as the causes of action arise and Defendants reside in Utah County, Utah.

        11.    As originally filed, because the Complaint seeks recovery of damages in an amount

 exceeding $100,000 and non-monetary relief, it was classified as a Tier 2 action under Utah Rule

 of Civil Procedure 26.

        12.    Defendants removed this action pursuant to 28 U.S.C. §1441 et seq. to the United

 States District Court for the District of Utah on November 27, 2024. Defendants stated that they

 “base[d] their removal on federal question jurisdiction pursuant to U.S.C. §§ 1331, 1441(a), and

 1446” and that the “Court has jurisdiction over the remainder of the case because all the claims

 form part of the same case or controversy. See 28 U.S.C. § 1367.”

        13.    Plaintiffs’ claims are exempt from the notice-of-claim provisions of the Utah

 Governmental Immunity Act, according to the terms of that Act and Utah’s Religious Freedom

 Restoration Act and because of the exigent circumstances presented herein. Even so, out of an

 abundance of caution, Plaintiffs’ claims were included and described in a notice of claim served

 upon Defendants concurrently with the service of the original Complaint on November 19, 2024.

                                 FACTUAL BACKGROUND


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 The Founding and Religious Practices of Singularism

        14.     In the fall of 2023, following years of various transcendent and spiritual experiences

 facilitated through psilocybin, Mr. Jensen determined to share his spiritual enlightenment with the

 community by founding his own religious organization, Singularism.

        15.     Although previously licensed as a mental health therapist, Mr. Jensen allowed his

 license to lapse and discontinued his professional clinical practice, understanding that, as clergy,

 he would be exempt from licensure requirements under the Utah Mental Health Professional

 Practice Act, see Utah Code § 58-60-107(2)(b), and would transition to becoming a spiritual leader

 and provide religious mental health therapy.

        16.     After much effort and coordination, Mr. Jensen was able to found Singularism as a

 non-profit organization and Psyche Healing and Bridging as a related for-profit corporation, and

 was able to locate a space to rent as a spiritual center in Provo, Utah.

        17.     Singularism held a public ribbon-cutting ceremony for its spiritual center in the fall

 of 2023. It invited many individuals and organizations from all walks of life to attend the ribbon-

 cutting event, and many individuals attended. During the ribbon-cutting ceremony, individuals

 shared their profound religious and spiritually healing experiences with psilocybin. Others shared

 they had felt marginalized according to their unorthodox religious views regarding psilocybin and

 the spiritual experiences it had opened for them. Others attended merely to learn about Singularism

 and the potential for religious enlightenment.

        18.     During the ribbon-cutting ceremony, Mr. Jensen discussed one of Singularism’s

 mantras: that psilocybin permits individuals to directly access the divine and thereby be able to




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 “write your own scripture.” It was this mantra that Mr. Jensen invited all in attendance to say as

 he cut the ceremonial ribbon.

        19.      Thereafter, individuals socialized, learned more about Singularism’s religious

 beliefs, and were able to tour Singularism’s spiritual center.

        20.      As part of its efforts to become known in the community and prevent authorities’

 misunderstanding of Singularism, in the fall of 2023, Singularism sent letters to local government

 leaders and law enforcement, inviting them to come tour Singularism’s spiritual center and

 informing them of Singularism’s spiritual practices utilizing psilocybin. For example, letters were

 sent to the Mayor of Provo City, the Provo City Council, the Provo Police Department, as well as

 to the Utah County Attorney’s Office. None of these offices took advantage of Singularism’s

 invitation to tour its spiritual center. The letters also informed these government offices of

 Singularism’s claims to religious free exercise and raised the constitutional and statutory bases for

 those claims.

        21.      Following Mr. Jensen’s invitations to tour Singularism’s spiritual center, there was

 media coverage by FOX 13 News regarding Singularism’s religious practices which included

 statements from Provo City and the Utah County Attorney’s Office:

              a. A spokesperson for Provo City stated:

                Psilocybin is a Schedule I controlled substance and under Utah law, it is
        illegal to possess or distribute. A recent effort to legalize psilocybin was not
        approved by the legislature, therefore use and distribution continue to be criminal
        offenses.
                We have evaluated recent claims that use is protected under the Religious
        Freedom Restoration Act and we believe those claims to be without merit. The
        position of the Provo Police Department is that officers will treat psilocybin as an
        illegal drug and will arrest or cite users and distributors and refer charges to the
        Utah County Attorney’s Office. We have confirmed with that office that they intend
        to prosecute violators.

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              b. The Utah County Attorney’s Office stated:

               Based upon research conducted by the Utah County Attorney’s office, it
        does not appear that Singularism has Constitutional protections to either use of
        administer psilocybin. 1

        22.      Following the ribbon-cutting event, beginning in September 2023, Singularism

 began its ceremonial practice of ushering sincere religious believers into transcendent experiences

 at its spiritual center. As part of doing so, Singularism carefully prepares a diluted, sacramental

 psilocybin tea, offers it to what it calls its “Voyagers,” and supervises the voyager in a private,

 controlled, safe, and comfortable environment within Singularism’s spiritual center, following

 safety guidelines such as those published by Harvard Medical School and Johns Hopkins. Before,

 during, and after the ceremony, religious guides such as Mr. Jensen attend to the voyager, help

 guide their spiritual inquiry, and record the voyager’s spiritual insights, thereby allowing the

 individual to write their own scripture.

        23.      One of Singularism’s principal doctrines is that the American cultural line drawn

 between religion and science is illusory and that the two fields are complementary and interwoven.

 As such, Singularism takes full advantage, for religious purposes, of the benefits and wisdoms of

 clinical practices used in mental health therapy. Concurrent to Singularism’s religious practices

 and beliefs, there are active scientific bodies, including those as notable as Harvard Medical School

 and Johns Hopkins, which have extensively researched and published regarding the positive usages

 of psilocybin for a variety of physical and mental issues in the secular context.



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       Psychedelic Mushroom Interest Grows in Utah with Center Opening in Provo, FOX13
 NEWS, updated Nov. 06, 2023, https://www.fox13now.com/news/local-news/psychedelic-
 mushroom-interest-grows-in-utah-with-center-opening-in-provo.
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        24.      Before administering its ceremonial and sacramental psilocybin to its voyagers,

 Singularism puts interested individuals through a screening process. During this multi-stage

 screening process, Singularism evaluates each voyager’s physical, mental, and emotional

 suitability and readiness to participate in a psilocybin ceremony. As part of this multi-stage

 screening process, Singularism also evaluates the voyager’s religious sincerity and prohibits

 individuals attempting to ingest psilocybin solely for secular or recreational purposes from

 participating in its ceremonies.

        25.      In fact, even after deeming an individual religiously sincere, Singularism requires

 the individual to sign an attestation of their religious sincerity before participating in a psilocybin

 ceremony. The document including that attestation also requires the voyagers to take or not take

 certain actions to protect their own physical, mental, emotional, and spiritual well-being following

 a voyage through a Singularism ceremony. See Exhibit A.

        26.       Singularism turns away individuals that it deems religiously insincere, as well as

 individuals for which a psilocybin ceremony could potentially be harmful to the individual’s

 physical, mental, emotional, or spiritual well-being.

        27.      Singularism’s voyagers that are sincere and suited for the ceremonies have reported

 many significant and varied religious experiences during their Singularism ceremonies. As a few

 examples:

              a. One voyager described his experience as “profoundly transformative,” that he

                 “experienced an overwhelming sense of unity with all things,” which was a “deeply

                 religious encounter with the sacredness of existence.”




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                b. Another voyager described her experience walking “alongside Jesus,” encountering

                   deceased relatives, embracing “Heavenly Mother and Father [and] feeling their

                   unconditional love and reassurance.”

                c. Another voyager described that she “experienced an overwhelming sense of joy,

                   inner peace, and enlightenment,” which was “nothing short of transcendent—a

                   deeply spiritual encounter that connected me to something greater than myself.”

          28.      To participate in Singularism’s therapeutic religious ceremonies via Singularism’s

  for-profit organization, Psyche Healing and Bridging, individuals pay a fee. The fee is calculated

  according to the typical time spent in a ceremonial voyage and the amount of ceremonies the

  voyager intends to participate in, taking into consideration what a comparable secular therapeutic

  service might entail. In some instances where sincere individuals are seeking this religious

  experience, but do not have the financial resources to contribute, Singularism has permitted

  voyagers to participate in ceremonies at reduced or no cost.

          29.      Because of Singularism’s convictions in the correctness of its doctrines and the

  spiritual benefits of its practices, it openly shares about its mission and invites others to learn more

  about its beliefs. As part of Singularism’s missionary efforts, it has begun to develop processes

  and procedures whereby others can become certified spiritual guides in its doctrines to expand the

  reach of its spiritual movement. Presently, only a handful of these guides have received

  Singularism’s religious training. They are taught to abide by and conduct the same screening

  procedures discussed above.

          30.      Singularism operated peacefully and without any private or public incident or

  complaint related to it or any of its voyagers since it opened the doors of its spiritual center through


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  January 2025. In January 2025, one of Singularism’s voyagers had an adverse reaction during her

  second Singularism ceremony. The individual’s reaction was exceptionally rare, not life

  threatening, but exhibited signs of mental distress. Singularism followed its protocol (which is

  similar to those in place at mental health treatment facilities), which was to have the voyager reach

  out to her previously identified emergency contact and otherwise assist the individual in reaching

  the hospital where she was treated and released within a few hours. While investigating the

  incident, Singularism learned that the voyager had not disclosed certain mental health indicators

  during Singularism’s screening procedure which, if known, would likely have caused Singularism

  to screen the voyager out from receiving a psilocybin ceremony. The day following the voyager’s

  adverse reaction, she contacted Singularism, stated she was safe and was recovering well, and

  apologized for the incident. They voyager made similar statements to law enforcement.

  Defendants’ Statements to the Media Interfere with Singularism’s Financial Accounts

         31.     In the fall of 2023, for reasons then unknown to Singularism, Singularism began to

  experience complications with its financial accounts at KeyBank. And in January 2024, KeyBank

  refused to provide banking services to Singularism and closed Singularism’s accounts, causing a

  major disruption to Singularism’s operations. KeyBank refused to explain the reason it closed

  Singularism’s accounts.

         32.     However, records obtained by Singularism a year later, maintained by the Financial

  Crimes Enforcement Network of the United States Department of the Treasury (“FinCEN”),

  indicate that KeyBank relied upon the statements Provo City and the Utah County Attorney’s

  Office made to FOX 13 News to justify their refusal to provide banking services to Singularism

  and close its accounts.


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         33.     The FinCEN records show that KeyBank’s report to FinCEN directly quoted the

  statements Provo City and the Utah County Attorney’s Office made to FOX 13 News in

  KeyBank’s report to FinCEN.

         34.     Thus, the incorrect statements made by Provo City and the Utah County Attorney’s

  Office to FOX 13 News, which were made with a knowing disregard, or, at least, reckless

  disregard, of Singularism’s religious rights, had a palpable effect upon Singularism and its

  financial condition.

  Law Enforcement Knowingly Disregards Singularism’s Religious Exemption,                       Seizes
  Singularism’s Sacrament, Pursues Criminal Charges, and Threatens Eviction

         35.     Singularism’s peaceful religious practice was interrupted on November 11, 2024

  when law enforcement from the Provo City Police Department—Detective Julian, Sergeant

  Rowberry, Detective Wolfgramm, and Detective Graham—presented at Singularism’s spiritual

  center with a warrant to search the premises and seize certain items. See Exhibit B.

         36.     For roughly two hours, law enforcement searched Singularism’s spiritual center,

  detained Mr. Jensen, and interrogated him regarding his and Singularism’s religious practices. Mr.

  Jensen is a single, divorced father, and as a result, had to instruct one of Singularism’s assistants

  to head to Mr. Jensen’s home to care for his children, fearing that law enforcement would arrest

  him and prevent him from being able to return to take care of them that night.

         37.     From the outset, Detective Julian explained that he and Sergeant Rowberry,

  Detective Wolfgramm, and Detective Graham had been instructed to obtain the search warrant by

  Utah County Attorney, Defendant Gray. Detective Julian told Mr. Jensen that he was fully aware

  of Singularism’s claim to sincere religious exemption, but that the Utah County Attorney had



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  instructed that there does not exist, and cannot exist, any religious exemptions from the Utah

  Controlled Substances Act related to psilocybin.

         38.     Detective Julian explained that he had, undercover, posed as an individual

  interested in Singularism, going through some of the initial stages of Singularism’s screening

  process, to obtain information regarding Singularism’s usage of psilocybin.

         39.     At no point during law enforcement’s search and seizure did Detective Julian or

  Sergeant Rowberry, Detective Wolfgramm, and Detective Graham appear to doubt Mr. Jensen or

  Singularism’s religious sincerity that psilocybin ceremonies are a vital and core part of their

  religious practice.

         40.     Rather, Mr. Jensen explained in detail the integral nature of psilocybin to

  Singularism’s religious practices, outlining Singularism’s screening mechanisms, the other

  procedures it keeps to ensure safety for its voyagers, and that psilocybin tea or any other form of

  psilocybin is never administered or distributed to anyone outside one of its ceremonies, all which

  occur within the walls of Singularism’s spiritual center.

         41.      During the entirety of law enforcement’s presence, Mr. Jensen was wholly

  cooperative with law enforcement.

         42.     At one point, Detective Julian and/or Sergeant Rowberry, Detective Wolfgramm,

  and Detective Graham indicated that in additional to sacramental psilocybin, they would be seizing

  certain records kept by Singularism. When Mr. Jensen saw which records they were referring to,

  it caused him immense grief, as these were the records in which Mr. Jensen and other of

  Singularism’s spiritual guides recorded the personalized and living scripture of Singularism’s




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  voyagers. Mr. Jensen expressed that although the seizure of Singularism’s sacramental psilocybin

  was difficult to endure, seizure of this sacred scripture was even more devastating.

         43.     In total, law enforcement removed psilocybin, a black grinder, a black scale, and a

  gold scale used in preparing Singularism’s sacramental psilocybin tea, THC, and “Bridging Model

  Paperwork” from Singularism’s religious center. See Exhibit C. Although not recorded on the

  officers’ seizure receipt, law enforcement also seized additional Psyche Bridging and Healing’s

  business records, as well as a significant portion of Singularism’s voyager’s attestations to their

  religious sincerity and their religious intention statements.

         44.     At the end of the encounter, Detective Julian told Mr. Jensen that he recommended

  Singularism cease all its religious practices.

         45.     Recognizing Mr. Jensen’s religious sincerity, his cooperation during the search,

  seizure, and interrogation, and their assessment of Mr. Jensen’s low flight risk, the officers released

  Mr. Jensen without arrest. However, they told him to expect criminal charges.

         46.     Upon law enforcement’s departure, Mr. Jensen was left in a devastating state of

  distress, facing the reality that Defendants were placing before him an impossible choice: (1)

  practice his religion and continue the religious practices of Singularism, as deity had instructed

  him to do, under the prospect of escalated threats from law enforcement and promised prosecution

  or (2) give up his sincerely held religious beliefs, disband Singularism, give up his and others’

  livelihoods through the religious business arm of Singularism, Psyche Healing and Bridging, and

  turn away voyagers expecting to access the divine under Singularism’s careful watch.

         47.     This distress continues to the present and increased when, the next day, on

  November 12, 2024, Captain Wolken served Singularism’s landlord with a letter, threatening that


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  if he did not evict Singularism from their rented space, that law enforcement would pursue the

  landlord for civil abatement and forfeiture. See Exhibit D.

         48.     The letter, written with a header containing Chief Beebe’s name, asserted, without

  any basis in evidence, that Singularism was performing “illegal and dangerous activity” and that

  “residents in that neighborhood . . . are living in unnecessary fear and danger . . .” Id.

         49.     As stated above, no incidents of any kind have ever occurred at or around

  Singularism’s religious center related to Singularism’s religious practices, apart from one voyager

  that did not disclose information regarding her mental health. Neither Singularism, nor its landlord,

  are aware of any complaint to either of them regarding Singularism’s spiritual practices. The

  business park in which Singularism’s spiritual center strictly enforces rules and security of the

  premises and has never made any complaint.

         50.     Singularism’s landlord responded to Captain Wolken and the Provo City Police

  Department. In his letter, he asserted that he understood that Singularism was taking legal action

  to protect their religious rights. Because of that, he asserted that if he evicted Singularism as law

  enforcement desired, he would expose himself to potential liability for religious discrimination in

  his renting practices. See Exhibit E.

         51.      The landlord also stated that he had not observed any behavior that would prompt

  any concern. He stated that his employees present in the same building have not reported feeling

  unsafe or threatened by Singularism’s presence. Additionally, he stated that he had not seen any

  questionable activity nor any unsavory people coming or going from Singularism’s spiritual center.

  He stated that, if anything, “they have been exemplary tenants.”

  Criminal Charges Are Brought Against Mr. Jensen


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         52.     On December 18, 2024, following the Court’s issue of a temporary restraining order

  in this action, Defendant Utah County and Utah County Attorney Jeffrey Gray, acting on behalf

  of the State of Utah, filed criminal charges against Mr. Jensen related to the allegations above. The

  criminal Information in the matter styled as State of Utah v. Bridger Lee Jensen, Case No.

  241404407 (Fourth District, Utah County, State of Utah), charges Mr. Jensen with (1) Possession

  of Psilocybin with Intent to Distribute, a Second Degree Felony; (2) Possession or Use of

  Tetrahydrocannabinol (THC), a Class B Misdemeanor; and (3) Use or Possession of Drug

  Paraphernalia, a Class B Misdemeanor.

  Provo City Confirms That Singularism Is a Religious Organization

         53.     On January 13, 2025, following Singularism’s attempt to renew a business license

  Singularism understood it may need to operate, Defendant Provo City sent Singularism a letter

  which confirmed that Provo City deems Singularism a church or religious organization, attached

  here as Exhibit I:

                 This letter is to confirm that, under Provo City Code sec. 6.01.130, churches
         or religious organizations are not required to obtain a business license to operate.
         This exemption is limited to activities directly associated with religious purposes.
         Application LCB202400923 for Singularism has been closed.
                 If your organization engages in activities outside the scope of religious
         operations, such as running a commercial enterprise or selling goods, additional
         regulations may apply, and compliance will be required.

         54.     Provo City Code Section 6.01.130 states

         Unless otherwise provided in this Title, the provisions of this Title shall not be
         construed to require a business license for an activity which is conducted, managed
         or carried on wholly for charitable, religious or other non-profit purposes from
         which profit is not derived, directly or indirectly by any person. Qualification under
         the federal tax laws for non-profit status shall be prima facie evidence that a person
         has the charitable, religious or non-profit purposes described above.

         55.     Provo City Code Section 6.01.140 states

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         With respect to exemptions from business license requirements claimed because of
         charitable, religious or other nonprofit status, the person claiming the exemption
         shall have the burden of establishing that exemption.

  The Utah Code Exempts Other Secular and Religious Uses of Controlled Substances

         56.      The Utah Code contains explicit exemptions for secular and religious uses of

  psilocybin and other controlled substances:

               a. First, in 2024, the Utah Legislature passed S.B. 266 Medical Amendments, now

                  codified within the Utah Controlled Substances Act at Utah Code § 58-37-3.5

                  (“Utah Psilocybin Act”). The Act grants broad permission to the largest healthcare

                  systems in the state to develop and administer psilocybin programs for secular,

                  medicinal usage. The Act places very few limitations on the healthcare systems’

                  ability to determine how, when, where, to whom, and for what reason psilocybin is

                  administered to patients and only requires the healthcare systems to report to the

                  legislature on July 1, 2026. Through the Act, the Utah Legislature has made

                  psilocybin accessible to the general public for secular, medical reasons.

               b. Second, the Utah Controlled Substances Act also contains an exemption for secular,

                  medicinal usage of cannabis. Utah Code § 58-37-3.7(2)-(5); see also Utah Code §

                  58-37-3.6(2)-(3); Utah Code § 58-37-3.8. Accordingly, the Utah Code also treats

                  cannabis usage as a protected class status in the context of public employment. See

                  Utah Code § 34A-5-115.

               c. Third, the Utah Controlled Substances Act also contains an exemption for religious

                  usage of peyote, but only for a single racial, ethnic, and/or religious group, Native

                  Americans. Utah Code § 58-37-8(12); Utah Code § 58-37-2(1)(w).

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               d.   Fourth, the Utah Controlled Substances Act permits Utah authorities to waive the

                    Act’s “licensure requirement [if] consistent with public health and safety.” Utah

                    Code § 58-37-6(2)(d).

         57.        Additionally, the Utah Mental Health Professional Practice Act grants exemptions

  from licensure in at least two contexts:

               a. First, the Utah Mental Health Professional Practice Act permits “a recognized

                    member of the clergy while functioning in a ministerial capacity” to practice mental

                    health therapy “as long as the member of the clergy does not represent that the

                    member of the clergy is, or use the title of, a license classification” included in the

                    Act. Utah Code § 58-60-107(2)(b).

               b. Second, the Utah Mental Health Professional Practice Act permits individuals to

                    practice hypnosis on others without a license in order to achieve mental and

                    physical outcomes, as long as the individual (1) “induces a hypnotic state in a client

                    for the purpose of increasing motivation or altering lifestyles or habits, such as

                    eating or smoking, through hypnosis;” (2) “consults with a client to determine

                    current motivation and behavior patterns;” (3) “prepares the client to enter hypnotic

                    states by explaining how hypnosis works and what the client will experience;” (4)

                    “tests clients to determine degrees of suggestibility;” (5) “applies hypnotic

                    techniques based on interpretation of consultation results and analysis of client’s

                    motivation and behavior patterns;” and (6) “trains clients in self-hypnosis

                    conditioning.” Utah Code § 58-60-107(2)(d)(i).

  Utah and Other Authorities Have Permitted the Religious Usage of Psilocybin and Other
  Entheogenic Substances

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         58.     Upon information and belief, other entheogenic religious organizations continue to

  worship in Utah without interference from Utah authorities, including Defendants.

         59.     For example, a larger religious organization called “The Divine Assembly” appears

  to operate openly and without recourse under the same religious protections that should protect

  Singularism. It holds regular meetings with its members in Orem, Utah. On its website, The Divine

  Assembly discusses the legality of its worship involving psilocybin, offers church membership

  cards in exchange for a $75 fee, offers certificates of ministry, offers mushroom-growing kits and

  instructions, and advertises an event called “Psychedelics in the Beehive.” 2

         60.     Psychedelics in the Beehive is an expansive event which, as it self-describes,

  “evolved from a conference and expo into a dynamic three-day festival” in downtown Salt Lake

  City, Utah. The event invites “attendees to explore new perspectives on psychedelics through a

  blend of learning and creative expression” and connects “Utah’s diverse plant medicine

  community, bringing together experts, leaders, business owners, and newcomers to collaborate

  and choose their own path in exploring psychedelics.” 3 The festival’s next event is slated for

  January 24-26, 2025 and attendees will be able to choose to participate in religious psilocybin

  ceremonies under the same religious protections that should protect Singularism. 4




  2
          The Divine Assembly, THE DIVINE ASSEMBLY, available at,
  https://www.thedivineassembly.org/.
  3
          About Psychedelics in the Beehive, PSYCHEDELICS IN THE BEEHIVE, available at,
  https://psychedelicsinthebeehive.org/explore.
  4
           Worship at Psychedelics in the Beehive, PSYCHEDELICS IN THE BEEHIVE, available
  at, https://psychedelicsinthebeehive.org/ceremonies.

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         61.       Additional organizations, such as Oklevueha Native American Church, centered in

  Spanish Fork, Utah, and Temple of Hermes, in Salt Lake City, Utah, openly practice their religious

  rites which include entheogenic practices, including in ceremonies occurring in Heber, Utah.

         62.       Following a complaint made to the Utah Department of Commerce’s Division of

  Professional Licensing (“DOPL”) that Mr. Jensen was practicing therapy without a license, DOPL

  conducted an investigation during which Mr. Jensen provided a statement asserting his practice of

  religious therapy under the clergy licensure exemption under the Utah Mental Health Professional

  Practice Act. Following DOPL’s investigation, on November 19, 2024, DOPL informed Mr.

  Jensen that “it was decided this complaint would be closed as ‘unfounded’. This means DOPL is

  not taking any action and [is] closing this complaint out with no further action taken at this time.”

  See Exhibit H.

         63.       Elsewhere in the country, authorities and courts have affirmed the religious rights

  of sincere individuals and organizations to conduct religious ceremonies with controlled

  substances.

         64.       For example, the U.S. Supreme Court, under the federal Religious Freedom

  Restoration Act, famously confirmed a Christian Spiritist sect’s religious exemption from the

  federal Controlled Substances Act for the religious consumption of hoasca, an entheogenic and

  sacramental tea made from plants unique to the Amazon region. See Gonzales v. O Centro Espírita

  Beneficente União do Vegetal, 546 U.S. 418, 425 (2006).

         65.       More recently, the Court of Appeals for the Ninth Circuit affirmed, under the

  federal Religious Freedom Restoration Act, not only (1) an entheogenic church’s religious

  exemption from the federal Controlled Substances Act for the religious use of Daime tea, but also


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  (2) the church’s entitlement to attorney fees for the government’s violation of their religious rights.

  See Church of Holy Light of Queen v. Holder, 443 F. App’x 302 (9th Cir. 2011); Church of the

  Holy Light of the Queen v. Holder, 584 F. App’x 457 (9th Cir. 2014).

         66.     And in April 2024, several federal agencies, including the Drug Enforcement

  Administration, entered into a public settlement agreement with an entheogenic church regarding

  the importation and religious use of ayahuasca, following a federal district court’s confirmation of

  the church’s religious exemption under the federal Religious Freedom Restoration Act. See

  Exhibits F and G.

         67.     In light of these instances of agency and judicial confirmation of entheogenic

  religious rights, together with the open, public, and unprosecuted religious and secular usage of

  psilocybin and other entheogenic substances in Utah, and the various codified exemptions in the

  Utah Religious Freedom Restoration Act, Utah’s Controlled Substances Act, and the Utah Mental

  Health Professional Practice Act, Provo City and Defendant Gray’s instruction to Detective Julian

  and Sergeant Rowberry, Detective Wolfgramm, and Detective Graham that no religious exemption

  related to psilocybin from the Utah Controlled Substances Act is possible, and to proceed to search

  Singularism, seize its sacramental psilocybin and scriptural records, and thereafter prosecute Mr.

  Jensen, amounts to knowing disregard, or, at least, reckless disregard, of Singularism’s religious

  rights. The law has clearly established that sincere religious individuals and entheogenic

  organizations in the precise circumstance presented in this case have a right to their religious

  practice without governmental interference.

         68.     Defendants violated clearly established law when, despite knowledge of Plaintiffs’

  religious sincerity, they made statements to the media which caused Singularism’s financial


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  accounts to be compromised and, through law enforcement, sought a search warrant without

  probable cause when Defendants knew or should have known Plaintiffs’ religious practices were

  lawful, detained Mr. Jensen, searched Singularism’s religious center, seized Singularism and

  Psyche Healing and Bridging’s sacramental psilocybin and other items, threatened Mr. Jensen with

  criminal prosecution and thereafter brought criminal charges against Mr. Jensen, and threatened

  Singularism’s landlord that if he did not evict Singularism from its rented space, law enforcement

  would pursue the landlord for civil abatement.

         69.     As a result of Defendants’ statutory and constitutional violations, Plaintiffs have

  been deprived of the possession and usage of their sacramental psilocybin, have been deprived of

  precious scripture regarding Singularism’s voyagers, have been placed under threat of eviction,

  have been placed under threat of criminal prosecution and criminal forfeiture, their livelihoods

  have been threatened, their financial accounts have been compromised, and they have endured

  substantial emotional and mental distress. It is anticipated that the course of Defendants’ conduct

  will only deepen the present and future harms to Plaintiffs’ statutory and constitutional religious

  rights. For example, Plaintiffs expect that Singularism’s religious community will be irreparably

  diminished, voyagers will no longer feel safe participating in a Singularism ceremony, and Psyche

  Bridging and Healing, as a result, will sustain substantial financial losses to the point of closure.

         70.     Additionally, to defend their statutory and constitutional religious rights, Plaintiffs

  were forced to incur substantial attorney fees and costs in bringing this Complaint and an

  accompanying motion for temporary restraining order and preliminary injunction.

                                        CAUSES OF ACTION

                                  FIRST CLAIM FOR RELIEF
                 42. U.S.C. § 1983 and the First Amendment to the U.S. Constitution

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          71.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

          72.     At all times relevant hereto, Plaintiffs had clearly established rights under the First

  Amendment of the United States Constitution to, according to their sincere religious beliefs, freely

  exercise their entheogenic religious ceremonies utilizing entheogenic substances such as

  psilocybin.

          73.     At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants Utah County, Provo City, and Gray acted under color of state law, as were the law

  enforcement officers acting under their direction, Chief Beebe, Captain Wolken, Detective Julian,

  Sergeant Rowberry, Detective Wolfgramm, and Detective Graham.

          74.     At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants actively and personally caused the violation of constitutional rights alleged herein.

          75.     Defendants’ conduct alleged herein—including, but not limited to, making

  statements to the media which caused Singularism’s financial accounts to be compromised and,

  through law enforcement, seeking a search warrant without probable cause when Defendants knew

  or should have known Plaintiffs’ religious practices were lawful, detaining Mr. Jensen, threatening

  to bring criminal charges against Mr. Jensen and thereafter bringing criminal charges against Mr.

  Jensen, searching Singularism’s religious center, seizing Singularism’s sacramental psilocybin and

  other items, and threatening Singularism’s landlord to evict Singularism from its rented space—

  violated Plaintiffs’ constitutional rights.




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          76.      Defendants’ enforcement of the Utah Controlled Substances Act to specifically

  prohibit Plaintiffs’ usage of psilocybin is not essential to furthering any compelling government

  interest.

          77.      Defendants possess less restrictive means of furthering any governmental interest

  they may have in specifically prohibiting Plaintiffs’ usage of psilocybin.

          78.      The unlawful misconduct of Defendants was objectively unreasonable, flagrantly

  unlawful, and undertaken intentionally with willful indifference to Plaintiffs’ rights.

          79.      Defendants’ actions violated Plaintiffs’ clearly established constitutional rights of

  which reasonable police officers are or should be aware.

          80.      Utah County and Provo City are liable for the actions described herein because

  (collectively and in the alternative):

                a. The actions were caused or directed by the Provo City Attorney’s Office and/or

                   Defendant Gray, final decision-making authorities;

                b. The fact that multiple members of the Provo City Police Department, including the

                   Chief, Captain, Detectives, and Sergeant, undertook patently unlawful conduct,

                   suggests a complete or reckless lack of training on a subject that officers will

                   encounter on a regular basis.

          81.      Defendants’ unlawful actions caused Plaintiffs to incur costs related to their

  compromised financial accounts; defending against the unlawful detention, search, and seizure, as

  well as criminal charges; and other actual damages.

          82.      Plaintiff is further entitled to attorney fees and costs pursuant to 42 U.S.C. § 1988,

  pre-judgment interest, and costs as allowable by law.


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                                  SECOND CLAIM FOR RELIEF
                              Article I, Section 4 of the Utah Constitution

         83.      Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

         84.      At all times relevant hereto, Plaintiffs had clearly established rights under Article

  I, Section 4 of the Constitution, which exceed the protections afforded under the First Amendment

  to the U.S. Constitution, to, according to their sincere religious beliefs, freely exercise their

  entheogenic religious ceremonies utilizing entheogenic substances such as psilocybin.

         85.      Since 1993, the Utah Supreme Court has stated that a free exercise analysis

  conducted under the First Amendment “does not control [the] analysis under the Utah

  Constitution,” Soc’y of Separationists, Inc. v. Whitehead, 870 P.2d 916, 930 (Utah 1993), and has

  indicated strict scrutiny review likely applies. See Snyder v. Murray City Corp., 124 F.3d 1349,

  1354 (10th Cir. 1997); Summum v. Pleasant Grove City, 2015 UT 31, ¶ 7, 345 P.3d 1188; Jeffs v.

  Stubbs, 970 P.2d 1234, 1249 (Utah 1998); State v. Green, 2004 UT 76, ¶ 70 n.1, 99 P.3d 820

  (Durrant, J., concurring); State v. Holm, 2006 UT 31, ¶ 34 n.8, 137 P.3d 726.

         86.      At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants Utah County, Provo City, and Gray acted under color of state law, as were the law

  enforcement officers acting under their direction, Chief Beebe, Captain Wolken, Detective Julian,

  Sergeant Rowberry, Detective Wolfgramm, and Detective Graham.

         87.      At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants actively and personally caused the violation of constitutional rights alleged herein.

         88.      Defendants’ conduct alleged herein—including, but not limited to, making

  statements to the media which caused Singularism’s financial accounts to be compromised and,

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  through law enforcement, seeking a search warrant without probable cause when Defendants knew

  or should have known Plaintiffs’ religious practices were lawful, detaining Mr. Jensen, threatening

  to bring criminal charges against Mr. Jensen and thereafter bringing criminal charges against Mr.

  Jensen, searching Singularism’s religious center, seizing Singularism’s sacramental psilocybin and

  other items, and threatening Singularism’s landlord to evict Singularism from its rented space—

  violated Plaintiffs’ constitutional rights.

          89.      Defendants’ enforcement of the Utah Controlled Substances Act to specifically

  prohibit Plaintiffs’ usage of psilocybin is not essential to furthering any compelling government

  interest.

          90.      Defendants possess less restrictive means of furthering any governmental interest

  they may have in specifically prohibiting Plaintiffs’ usage of psilocybin.

          91.      The unlawful misconduct of Defendants was objectively unreasonable, flagrantly

  unlawful, and undertaken intentionally with willful indifference to Plaintiffs’ rights.

          92.      Defendants’ actions violated Plaintiffs’ clearly established constitutional rights of

  which reasonable police officers are or should be aware.

          93.      Utah County and Provo City are liable for the actions described herein because

  (collectively and in the alternative):

                a. The actions were caused or directed by the Provo City Attorney’s Office and/or

                   Defendant Gray, final decision-making authorities;

                b. The fact that multiple members of the Provo City Police Department, including the

                   Chief, Captain, Detectives, and Sergeant, undertook patently unlawful conduct,




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                  suggests a complete or reckless lack of training on a subject that officers will

                  encounter on a regular basis.

         94.      Defendants’ unlawful actions caused Plaintiffs to incur costs related to their

  compromised financial accounts; defending against the unlawful detention, search, and seizure, as

  well as criminal charges; and other actual damages.

         95.      Plaintiff is further entitled to attorney fees and costs, pre-judgment interest, and

  costs as allowable by law.

                                  THIRD CLAIM FOR RELIEF
                               Utah Religious Freedom Restoration Act

         96.      Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

         97.      At all times relevant hereto, Plaintiffs had clearly established rights under the Utah

  Religious Freedom Restoration Act, Utah Code § 63G-33-101 et seq., which exceed the

  protections afforded under Article I, Section 4 of the Constitution and the First Amendment to the

  U.S. Constitution, to, according to their sincere religious beliefs, freely exercise their entheogenic

  religious ceremonies utilizing entheogenic substances such as psilocybin.

         98.      At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants Utah County, Provo City, and Gray acted under color of state law, as were the law

  enforcement officers acting under their direction, Chief Beebe, Captain Wolken, Detective Julian,

  Sergeant Rowberry, Detective Wolfgramm, and Detective Graham.

         99.      At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants actively and personally caused the violation of statutory rights alleged herein.



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          100.    Defendants’ conduct alleged herein—including, but not limited to, making

  statements to the media which caused Singularism’s financial accounts to be compromised and,

  through law enforcement, seeking a search warrant without probable cause when Defendants knew

  or should have known Plaintiffs’ religious practices were lawful, detaining Mr. Jensen, threatening

  to bring criminal charges against Mr. Jensen and thereafter bringing criminal charges against Mr.

  Jensen, searching Singularism’s religious center, seizing Singularism’s sacramental psilocybin and

  other items, and threatening Singularism’s landlord to evict Singularism from its rented space—

  violated Plaintiffs’ statutory rights.

          101.    Defendants’ conduct alleged herein substantially burdened Plaintiffs’ free exercise

  of religion by, but not limited to, constraining, limiting, and denying Plaintiffs’ free exercise of

  religion; compelling Plaintiffs to act, or fail to act, in a manner contrary to Plaintiffs’ free exercise

  of religion; and assessing criminal, civil, or administrative penalties or damages on Plaintiffs.

          102.    Defendants’ enforcement of the Utah Controlled Substances Act to specifically

  prohibit Plaintiffs’ usage of psilocybin is not essential to furthering any compelling government

  interest.

          103.    Defendants possess less restrictive means of furthering any governmental interest

  they may have in specifically prohibiting Plaintiffs’ usage of psilocybin.

          104.    The unlawful misconduct of Defendants was objectively unreasonable, flagrantly

  unlawful, and undertaken intentionally with willful indifference to Plaintiffs’ rights.

          105.    Defendants’ actions violated Plaintiffs’ clearly established statutory rights of which

  reasonable police officers are or should be aware.




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         106.      Utah County and Provo City are liable for the actions described herein because

  (collectively and in the alternative):

             a. The actions were caused or directed by the Provo City Attorney’s Office and/or

                   Defendant Gray, final decision-making authorities;

             b. The fact that multiple members of the Provo City Police Department, including the

                   Chief, Captain, Detectives, and Sergeant, undertook patently unlawful conduct,

                   suggests a complete or reckless lack of training on a subject that officers will

                   encounter on a regular basis.

         107.      Defendants’ unlawful actions caused Plaintiffs to incur costs related to their

  compromised financial accounts; defending against the unlawful detention, search, and seizure, as

  well as criminal charges; and other actual damages.

         108.      Plaintiff is further entitled to attorney fees and costs pursuant to Utah Code § 63G-

  33-201(6), pre-judgment interest, and costs as allowable by law.

         109.      The notice of claim provision of Utah’s Religious Freedom Restoration Act, see

  Utah Code § 63G-33-201(5), does not apply to this action. Defendants’ wrongful actions are

  ongoing and complying with the notice of claim provision will place an undue hardship on

  Plaintiffs and increase the harm suffered and to be suffered by Plaintiffs. Further, the harm alleged

  herein is likely to occur or reoccur before the end of the 60-day period described in the notice of

  claim provision.

                                  FOURTH CLAIM FOR RELIEF
                  42. U.S.C. § 1983 and the Fourth Amendment to the U.S. Constitution

         110.      Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

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          111.    At all times relevant hereto, Plaintiffs had clearly established rights under the

  Fourth Amendment of the United States Constitution to be secure in their persons, houses, papers,

  and effects, against unreasonable searches and seizures, and that no warrants shall issue against

  them without probable cause.

          112.    At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants Utah County, Provo City, and Gray acted under color of state law, as were the law

  enforcement officers acting under their direction, Chief Beebe, Captain Wolken, Detective Julian,

  Sergeant Rowberry, Detective Wolfgramm, and Detective Graham.

          113.    At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants actively and personally caused the violation of constitutional rights alleged herein.

          114.    Defendants’ conduct alleged herein—including, but not limited to, through law

  enforcement, seeking a search warrant without probable cause when Defendants knew or should

  have known Plaintiffs’ religious practices were lawful, detaining Mr. Jensen, threatening to bring

  criminal charges against Mr. Jensen and thereafter bringing criminal charges against Mr. Jensen,

  searching Singularism’s religious center, seizing Singularism’s sacramental psilocybin and other

  items, and threatening Singularism’s landlord that if he did not evict Singularism from their rented

  space then law enforcement would pursue the landlord for civil abatement and forfeiture—

  violated Plaintiffs’ constitutional rights.

          115.    The unlawful misconduct of Defendants—done without probable cause—was

  objectively unreasonable, flagrantly unlawful, and undertaken intentionally with willful

  indifference to Plaintiffs’ rights.




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         116.     Defendants’ actions violated Plaintiffs’ clearly established constitutional rights of

  which reasonable police officers are or should be aware.

         117.     Utah County and Provo City are liable for the actions described herein because

  (collectively and in the alternative):

             a. The actions were caused or directed by the Provo City Attorney’s Office and/or

                  Defendant Gray, final decision-making authorities;

             b. The fact that multiple members of the Provo City Police Department, including the

                  Chief, Captain, Detectives, and Sergeant, undertook patently unlawful conduct,

                  suggests a complete or reckless lack of training on a subject that officers will

                  encounter on a regular basis.

         118.     Defendants’ unlawful actions caused Plaintiffs to incur costs in defending against

  the unlawful detention, search, and seizure, the criminal charges, the threatened eviction action,

  and other actual damages.

         119.     Plaintiff is further entitled to attorney fees and costs pursuant to 42 U.S.C. § 1988,

  pre-judgment interest, and costs as allowable by law.

                                    FIFTH CLAIM FOR RELIEF
                              Article I, Section 14 of the Utah Constitution

         120.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

         121.     At all times relevant hereto, Plaintiffs had clearly established rights under the

  Article 1, Section 14 to the Utah Constitution that they shall be secure in their persons, houses,

  papers, and effects against unreasonable searches and seizures shall not be violated; and no warrant

  shall issue but upon probable cause.

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          122.    At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants Utah County, Provo City, and Gray acted under color of state law, as were the law

  enforcement officers acting under their direction, Chief Beebe, Captain Wolken, Detective Julian,

  Sergeant Rowberry, Detective Wolfgramm, and Detective Graham.

          123.    At all times relevant hereto, and in performance of the acts set forth herein,

  Defendants actively and personally caused the violation of constitutional rights alleged herein.

          124.    Defendants’ conduct alleged herein—including, but not limited to, through law

  enforcement, seeking a search warrant without probable cause when Defendants knew or should

  have known Plaintiffs’ religious practices were lawful, detaining Mr. Jensen, threatening to bring

  criminal charges against Mr. Jensen and thereafter bringing criminal charges against Mr. Jensen,

  searching Singularism’s religious center, seizing Singularism’s sacramental psilocybin and other

  items, and threatening Singularism’s landlord that if he did not evict Singularism from their rented

  space then law enforcement would pursue the landlord for civil abatement and forfeiture—

  violated Plaintiffs’ constitutional rights.

          125.    The unlawful misconduct of Defendants—done without probable cause—was

  objectively unreasonable, flagrantly unlawful, and undertaken intentionally with willful

  indifference to Plaintiffs’ rights.

          126.    Defendants’ actions violated Plaintiffs’ clearly established constitutional rights of

  which reasonable police officers are or should be aware.

          127.    Utah County and Provo City are liable for the actions described herein because

  (collectively and in the alternative):




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               a. The actions were caused or directed by the Provo City Attorney’s Office and/or

                   Defendant Gray, final decision-making authorities;

               b. The fact that multiple members of the Provo City Police Department, including the

                   Chief, Captain, Detective, and Sergeant, undertook patently unlawful conduct,

                   suggests a complete or reckless lack of training on a subject that officers will

                   encounter on a regular basis.

            128.   Defendants’ unlawful actions caused Plaintiffs to incur costs in defending against

  the unlawful detention, search, and seizure, the criminal charges, the threatened eviction action,

  and other actual damages.

            129.   Plaintiff is further entitled to attorney fees and costs, pre-judgment interest, and

  costs as allowable by law.

                                    SIXTH CLAIM FOR RELIEF
                                    Declaratory and Injunctive Relief

            130.   Plaintiffs incorporate all other allegations of this Complaint as if fully set forth

  herein.

            131.   Defendants’ conduct has caused and will cause Plaintiffs to suffer irreparable harm.

            132.   Plaintiffs intend to continue their religious ceremonial usage of psilocybin. Unless

  this Court enjoins Defendants, Defendants will continue to cause irreparable harm to Plaintiffs

  through violation of their free exercise of religion.

            133.   Plaintiffs fear that, without a court order, they will again be subjected to

  harassment, threats, arrest, criminal charges, forfeiture, eviction, and other retaliation and actions

  violative of their constitutional and statutory rights.

            134.   Plaintiffs are likely to succeed on the merits of their constitutional claims.

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         135.      Plaintiffs are likely to suffer the same violations upon their future performance of

  their religious sacraments in Provo City and Utah County.

         136.      The continued injury to Plaintiffs outweighs any damage to Defendants that could

  be caused by an injunction. Plaintiffs allege there is no damage to Defendants because there are

  no negative impacts to the community because of Singularism’s private, safe, and controlled

  religious ceremonies.

         137.      An injunction is in the public interest, as the U.S. Supreme Court, Utah Supreme

  Court, and the Utah Legislature has repeatedly recognized that religious free exercise is a

  fundamental right which merits protection and that there exist circumstances, both religious and

  secular, in which entheogenic substances are a public good.

         138.      Plaintiffs are entitled to a declaration that Defendants have violated Plaintiffs’

  constitutional and statutory religious free exercise rights. The Court should enter injunctive relief

  against Defendants requiring that Defendants cease their unlawful violation of Plaintiffs’ religious

  free exercise.




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                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs request the entry of judgment in their favor and against

  Defendants as follows:

         1.      A declaratory judgment, pursuant to Utah Code § 78B-6-401, declaring that

  Defendants’ actions violated Plaintiffs’ First Amendment right of religious free exercise.

         2.      A declaratory judgment, pursuant to Utah Code § 78B-6-401, declaring that

  Defendants’ actions violated Plaintiffs’ right of religious free exercise under Article I, Section 4

  of the Utah Constitution.

         3.      A declaratory judgment, pursuant to Utah Code § 78B-6-401, declaring that

  Defendants’ actions violated Plaintiffs’ right of religious free exercise under the Utah Religious

  Freedom Restoration Act.

         4.      A declaratory judgment, pursuant to Utah Code § 78B-6-401, declaring that

  Defendants’ actions violated Plaintiffs’ rights under the Fourth Amendment of the United States

  Constitution to be secure in their persons, houses, papers, and effects, against unreasonable

  searches and seizures, and that no warrants shall issue against them without probable cause.

         5.      A declaratory judgment, pursuant to Utah Code § 78B-6-401, declaring that

  Defendants’ actions violated Plaintiffs’ rights under Article 1, Section 14 to the Utah Constitution

  that they shall be secure in their persons, houses, papers, and effects against unreasonable searches

  and seizures shall not be violated, and that no warrant shall issue but upon probable cause.

         6.      Injunctive relief ordering the return of all items seized by Defendants from

  Singularism’s spiritual center.




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          7.      Injunctive relief temporarily and permanently enjoining Defendants from

  prosecuting Plaintiffs’ sincere free exercise of religion, threatening Singularism’s eviction, or

  otherwise acting to interfere with Plaintiffs’ sincere free exercise of religion regarding its religious

  entheogenic ceremonies.

          8.      A judgment awarding compensation to Plaintiffs for their economic and

  noneconomic loss and other personal injury resulting from the violations of their constitutional

  and statutory rights. Although the precise value of these damages is presently unknown, will

  increase as Defendants’ unlawful conduct continues, and will be determined by the jury at trial, it

  is expected the value of the damages at the time of trial will exceed $100,000.

          9.      A judgment assessing punitive damages against the individual Defendants.

          10.     A judgment awarding Plaintiffs their costs of suit, including reasonable attorney

  fees and litigation expenses, under 42 U.S.C. § 1988, Utah Code § 63G-33-201(6), and other

  applicable law.

          11.     A judgment awarding Plaintiffs pre- and post-judgment interest to the extent

  permitted by law.

          12.     Nominal damages to the extent a factfinder determines that a particular

  constitutional violation did not cause actual damages.

          13.     Such other and further relief as this Court may deem just and proper.

          Respectfully submitted this 5th day of February, 2025


                                                          /s/ Tanner J. Bean
                                                          Tanner J. Bean
                                                          Jacqueline M. Rosen
                                                          FABIAN VANCOTT
                                                          Attorneys for Plaintiffs

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                                           VERIFICATION

         I declare that the matters stated in the above Verified Complaint are within my personal

  knowledge or are based upon my review of the records kept in the regular course of Plaintiff’s

  business. Based upon the information so obtained and compiled, which I believe to be accurate, I

  believe the facts stated in the foregoing Verified Complaint are true and correct and are based on

  a reasonable inquiry, and I make this verification to the best of my information and belief. I declare

  under criminal penalty under the laws of the State of Utah that the foregoing is true and correct.

         DATED this 5th day of February, 2025.



                                                 /s/ Bridger Lee Jensen
                                                 Bridger Lee Jensen
                                                 (signed with permission granted to Tanner J. Bean
                                                 via email on February 5, 2025)




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